Case 2:09-cr-00369-MCA           Document 444        Filed 02/14/13      Page 1 of 3 PageID: 10902




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



  UNITED STATES OF AMERICA,

                          Plaintiff,                     CRIMINAL NO. 09-369 - 05 DMC

          V.

  VICENTE ESTEVES,
                                                     REPORT AND RECOMMENDATION
                          Defendant.




        This matter having come before the Court by way of referral from the Hon. Dennis M.

 Cavanaugh to conduct a proceeding pursuant to Fed. R. Crim. P. 11 and to issue a report and

 recommendation regarding the defendant's entry of a guilty plea; and the Court having considered

 the written consent by the defendant and his counsel to have the proceeding before the Undersigned;

 and the Undersigned having conducted a proceeding pursuant to Fed. R. Crim. P. 11; and as more

 fully set forth and reflected in the transcript of proceedings dated February 14, 2013, the Court makes

 the following report:

         1.     The defendant consented to a guilty plea before a United States Magistrate Judge,

 subject to his ability to file any written objections to the findings and recommendations contained

 in this report and orally stated at the Rule 11 proceeding and subject to its adoption by the United

 States District Judge;
                                                                                                           ...
        2.      The defendant fully understood the oath and consequences of failing to tell the truth

 at the plea hearing;
Case 2:09-cr-00369-MCA            Document 444          Filed 02/14/13     Page 2 of 3 PageID: 10903




         3.      The defendant fully understood the nature of the charges and consequences of his

 guilty plea, including the maximum penalties that he faces;

         4.      The defendant fully understood that while the United States Sentencing Guidelines

 are not binding, they will be considered;

         5.      The defendant fully understood his right to plead "not guilty" and to be tried by a jury,

 with the assistance of counsel, and that he would have the right to confront and cross-examine

 witnesses, call witnesses and compel the production of evidence if he so chooses, and to remain

 silent or testify, if he so chooses;

         6.      The defendant fully understood that if the guilty plea is accepted, then there would

 be no trial in this case;

         7.      The defendant was fully competent and capable of entering an informed guilty plea;

         8.      The defendant's waiver ofhis right to appeal and file a post-conviction challenge, and

 his plea were free, knowing, and voluntary; and

         9.      There is a factual basis to support the plea of guilty.

         Based upon the foregoing, and based upon the transcript of the proceedings, it is on this 14th

 day of February, 2013, recommended to the United States District Judge that the defendant's plea

 of guilty be accepted and a judgment of guilt to Count 3 of the Superceding Indictment be entered.




                                                          MARKFALK
                                                          United States Magistrate Judge




                                                    2
Case 2:09-cr-00369-MCA   Document 444       Filed 02/14/13   Page 3 of 3 PageID: 10904




                                   NOTICE

       FAILURE TO FILE WRITTEN OBJECTIONS TO THE FINDINGS AND
       RECOMMENDATIONS CONTAINED IN THE FOREGOING REPORT,
       WITHIN TEN DAYS OF RECEIPT OF SAME, MAY BAR DE NOVO
       DETERMINATION BY THE UNITED STATES DISTRICT JUDGE OF AN
       ISSUE COVERED HEREIN AND SHALL BAR APPELLATE REVIEW OF
       SUCH FACTUAL FINDINGS AS MAY BE ACCEPTED OR ADOPTED BY
       THE UNITED STATES DISTRICT JUDGE.




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